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14                         UNITED STATES DISTRICT COURT
15                      SOUTHERN DISTRICT OF CALIFORNIA
16                                                Case No. 3:23-cv-00061-RBM-KSC
17
                                                  PLAINTIFFS’ OPPOSITION TO
18   IN RE TRADER JOE’S COMPANY                   DEFENDANT’S MOTION TO
     DARK CHOCOLATE LITIGATION                    DISMISS THE CONSOLIDATED
19                                                CLASS ACTION COMPLAINT
20
                                                  Honorable Ruth Bermudez Montenegro
21
                                                  Hearing Date: August 7, 2023
22
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1            Plaintiffs Valerie Morrison, Tamakia Herd, Vyacheslav Shausmanov, Robert
2    Waring, Rita Ade, Lillian Brennessel, Rome Ish-Hurwitz, Adam Thaler, Ginger
3    Chapman, Louis Salerno, Rob Costin, Ahana Ganguly, and Thomas Ferrante
4    (“Plaintiffs”) respectfully submit this Opposition to the Motion to Dismiss (Dkt. 34)
5    (the “Motion” or “MTD”) filed by Trader Joe’s Company (“Trader Joe’s” or
6    “Defendant”).
7                                      INTRODUCTION
8            This is a consumer protection case concerning the misleading and deceptive
9    packaging of certain chocolate bars manufactured by Defendant. Specifically, the
10   Consolidated Class Action Complaint alleges that Defendant’s packaging was
11   misleading because of the material omission of the presence (or material risk) of
12   arsenic, cadmium, and lead (“Heavy Metals”) in its dark chocolate bars at issue here
13   (the “Products”). (See Dkt. 20, the “CAC”.)1 As a direct result of this omission,
14   Trader Joe’s caused injury to consumers who would not have purchased or would not
15   have paid premium prices for the Products had they been aware that the Products
16   contain, or have a material risk of containing, Heavy Metals beyond any level that
17   can reasonably be deemed inevitable, naturally occurring, or safe.
18           Trader Joe’s now improperly asks this Court to dismiss the CAC in its
19   entirety, despite admitting that the Products, which are represented to consumers as
20   being manufactured under strict quality standards, contain significant levels of
21   arsenic, cadmium, and lead. In doing so, Trader Joe’s cavalierly brushes aside test
22   results cited by Plaintiffs that show levels of lead and cadmium above the Maximum
23   Allowable Dose Levels (“MADLs”) established under California’s Proposition 65
24   and simply asserts that the Products contain “safe, miniscule” levels of heavy metals
25   and “are completely safe to consume.” (Dkt. 34-1 (Defendant’s Memorandum in
26   Support of Motion to Dismiss) at 10–11.) Trader Joe’s also ignores evidence that the
27
28   1
         The “Products” are, at a minimum, those defined at CAC ¶ 69.
                                                1
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1    Products could be manufactured in ways that would reduce the levels of Heavy
2    Metals below the MADLs for lead and cadmium. Instead, Defendant seeks to hide
3    behind existing, and confusing at best, environmental and food regulations (also not
4    disclosed or otherwise made available to consumers by Trader Joe’s) that do not
5    actually serve as the basis for any of Plaintiffs’ claims.
6          As set forth in the CAC and below, Plaintiffs sufficiently allege the Products
7    contain Heavy Metals that can cause a variety of serious illnesses, including
8    necrosis, cardiovascular disease, diabetes, and cancer (CAC at ¶¶ 107–23), thereby
9    representing a real safety threat that Trader Joe’s has a legal obligation to disclose to
10   consumers under both statutory and common law. Plaintiffs respectfully request that
11   the Motion be denied.
12                                        ARGUMENT
13   I.    PLAINTIFFS SUFFICIENTLY  ALLEGE                           VIOLATIONS           OF
           CONSUMER PROTECTION STATUTES
14
           Plaintiffs properly assert claims under the consumer protection statutes of
15
     California, New York, Illinois, and Washington. Trader Joe’s seeks dismissal of
16
     these claims, purportedly because “no reasonable consumer could have been misled
17
     by something Trader Joe’s did not say and that does not present a safety issue.” Dkt.
18
     34-1 at 18:6–8.
19
           Conduct is deceptive or misleading if it is likely to deceive a reasonable
20
     consumer. See Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008); see
21
     also People ex rel. Spitzer v. Gen. Elec. Co., 302 A.D.2d 314, 315 (N.Y. App. Div.
22
     2003); Curtis v. Philip Morris Cos. Inc., 2004 WL 2776228, at *4 (Minn. Dist. Ct.
23
     Nov. 29, 2004); Landau v. Viridian Energy PA LLC, 223 F. Supp. 3d 401, 418 (E.D.
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     Pa. 2016); Bell v. Publix Super Markets, Inc., 982 F.3d 468, 474–75 (7th Cir. 2020).
25
     “[T]he issue of whether a business practice is deceptive is a fact question that cannot
26
     properly be resolved on a motion to dismiss.” Madenlian v. Flax USA Inc., 2014 WL
27
     7723578, at *2 (C.D. Cal. Mar. 31, 2014); see also Zeiger v. WellPet LLC, 304 F.
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1    Supp. 3d 837, 852 (N.D. Cal. 2018); Williams, 552 F.3d at 938. It is only “in ‘rare’
2    cases, the Court can grant a motion to dismiss based upon its review of the disputed
3    packaging.” Madenlian, 2014 WL 7723578, at *2 (quoting Williams, 552 F.3d at
4    938-39). This is not such a “rare” case.
5          A.     Plaintiffs Plausibly Allege Reasonable Consumers Would be
                  Deceived by Defendant’s Omissions
6
           Defendant argues that “Plaintiffs’ pure omission theory fails because the
7
     absence of a warning label would not cause a reasonable consumer to infer that a
8
     product is ‘completely free’ of trace amounts of heavy metals, much less that it bears
9
     no risk of containing heavy metals.” Dkt. 34-1 at 19:14–17. Not only does this raise
10
     a question of fact, it is baseless and inconsistent with responses from a survey of
11
     actual consumers conducted by Plaintiffs’ counsel:
12
13                     Expectations Survey of Reasonable Consumers
14           Based on the labels, consumers would expect the dark
             chocolate products to contain arsenic.                    1.9%
15
16           Based on the labels, consumers would expect the dark      2.1%
             chocolate products to contain lead.
17
18           Based on the labels, consumers would expect the dark
                                                                       3.9%
             chocolate products to contain cadmium.
19
             After seeing the labels, consumers would not expect
20           there to be a presence or material risk of Heavy Metals   78.9%
             in the dark chocolate products.
21
             Consumers would expect a company to disclose if its
22           dark chocolate products contained detectable levels or a 86.7%
23           risk of Heavy Metals.

24           Consumers would expect a company to test for Heavy
             Metals in its dark chocolate products.                    86.8%
25
             Consumers believe a company should disclose Heavy         93.3%
26           Metals testing results to consumers.
27
28
                                                3
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1    CAC at ¶ 138. In other words, the vast majority of actual consumers believe the
2    absence of any warning label would mean the Products do not contain or risk
3    containing Heavy Metals. This is in addition to other allegations, such as: (i)
4    consumers purchase dark chocolate products “due to its health benefits” (CAC at ¶
5    127); (ii) Defendant consistently maintains its Products are “best quality products”
6    that meet Defendant’s “stringent quality and safety expectations” (CAC at ¶ 145);
7    and (iii) the Products do not have to be manufactured with Heavy Metals above
8    California’s MADL (CAC ¶¶ at 124–126). Such alleged facts are sufficient to satisfy
9    the reasonable consumer standard. See, e.g., Moore v. Trader Joe’s Co., 4 F.4th 874,
10   882 (9th Cir. 2021) (“[T]he reasonable consumer standard requires a probability that
11   a significant portion of the general consuming public or of targeted consumers,
12   acting reasonably in the circumstances, could be misled.”); see also Watson v. Solid
13   Gold Pet, LLC, 2019 WL 3308766, at *5 (C.D. Cal. Feb. 22, 2019) (sustaining
14   fraudulent omission claim where the plaintiff alleged “the presence of Heavy Metals
15   … is a material fact for a reasonable consumer when purchasing the products, that
16   she would not have purchased the products or paid a premium if she had known
17   about the contaminants, and that she had no way of acquiring this information on her
18   own”); Zeiger v. WellPet LLC, 304 F. Supp. 3d 837, 852 (N.D. Cal. 2018)
19   (sustaining omission claim where the plaintiffs allege the “Products’ labels are
20   misleading because they fail to disclose that they contain arsenic, lead, or BPA, all
21   the while claiming that they are healthy, safe, pure, and/or natural”).
22         Defendant urges the Court to ignore the consumer survey cited in the CAC,
23   but the case cited, Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225 (9th Cir.
24   2019), does not support that approach. The plaintiffs in Becerra could not expect a
25   consumer survey “on its own” to “shift the prevailing reasonable understanding of
26   what reasonable consumers understand the word ‘diet’ to mean.” Id. at 1231.
27   Considering the dictionary definition of diet, the Becerra court held that “no
28   reasonable consumer would assume that Diet Dr. Pepper’s use of the term ‘diet’
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1    promises weight loss or management.” Id. at 1229. Unlike in Becerra, Plaintiffs here
2    do not seek to use the consumer survey to alter consumers’ understandings of Heavy
3    Metals in dark chocolate, but rather to assess whether consumers believe Heavy
4    Metals are present based on the Product labels at issue.
5            Defendant’s reliance on Cheslow v. Ghirardelli Chocolate Co., 472 F. Supp.
6    3d 686 (N.D. Cal. 2020), and Prescott v. Nestlé USA, Inc., 597 F. Supp. 3d 1377
7    (N.D. Cal. 2022), is similarly misplaced. In Cheslow, “plaintiffs commissioned a
8    consumer survey that resulted in nearly 92 percent of respondents who viewed the
9    front panel of [the defendant’s ‘white chips’] product indicating that they thought it
10   contained white chocolate” when it did not. 472 F. Supp. 3d at 693. Unlike here, the
11   court noted that, “the survey only showed respondents the front panel of the
12   product,” and therefore “deprived respondents of relevant information, namely the
13   ingredient list” before dismissing the Cheslow plaintiffs’ claims. Id. at 695.
14   Similarly, Prescott tracks the facts and ruling in Cheslow. Prescott, 597 F. Supp. 3d
15   at 1381–84. Both Cheslow and Prescott, however, are easily distinguished from this
16   case.
17           Plaintiffs do not misconstrue or overlook the contents of the Product labels.
18   Instead, they “allege[] pure omissions, so there is no ‘meaning’ that could be learned
19   to remedy [the] alleged failure to disclose.” Zeiger v. WellPet LLC, 526 F. Supp. 3d
20   652, 688 (N.D. Cal. 2021). This is an omissions case where non-disclosure is the
21   entire basis of Plaintiffs’ claims. Plaintiffs’ survey supports their allegations on the
22   issue of reasonable understanding regarding heavy metal content in Defendant’s
23   products. Trader Joe’s failed to provide to this Court any survey similar to those
24   relied on in Becerra, Prescott, or Cheslow to assess “reasonable understanding.” See
25   Becerra, 945 F.3d at 1230; Cheslow, 472 F. Supp. 3d at 695; Prescott, 597 F. Supp.
26   3d at 1383–84.
27           Courts indeed recognize that it is appropriate for a party to rely on a consumer
28   survey to support claims, as Plaintiffs do here. See, e.g., Watec Co. Ltd. v. Liu, 2002
                                                 5
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1    WL 34373489, at *2 (C.D. Cal. May 21, 2002) (“At the summary judgment stage,
2    survey evidence, even if flawed, may be sufficient to raise a triable issue of fact and
3    defeat summary judgment.”); see also Clicks Billiards, Inc. v. Sixshooters, Inc., 251
4    F.3d 1252, 1263 (9th Cir. 2001); Mattel, Inc. v. MCA Records, Inc., 28 F. Supp. 2d
5    1120, 1132–35 (C.D. Cal. 1998)). Like the court in Becerra, this Court “must accept
6    the allegations surrounding the survey as true at this stage of the litigation.” Becerra,
7    945 F.3d at 1231; see also Cheslow, 472 F. Supp. 3d at 694. Here, Plaintiffs also
8    point to various sources, including Defendant’s representations and a Consumer
9    Reports article, to show their position is reasonable. (See CAC at ¶¶ 74, 84.) In short,
10   Plaintiffs do not rely on the survey alone, but appropriately use it to bolster their
11   claims.
12         Further, Defendant’s argument that no reasonable consumer would be
13   deceived by the omission regarding Heavy Metals in the Products due to general
14   knowledge that heavy metals are ubiquitous in the food supply, in addition to raising
15   a fact question, was rejected by another district court in California. See
16   Krommenhock v. Post Foods, LLC, 255 F. Supp. 3d 938, 964 (N.D. Cal. 2017)
17   (ruling that allegedly “widely known” risk of overconsuming sugar did not render
18   misrepresentation claims implausible). Another court rejected a similar argument in
19   the context of a case concerning benzene contamination:
20             [T]he defendants argue that the plaintiffs have failed to establish
21             that their label was misleading, because no reasonable consumer
               would believe that Banana Boat sunscreens could never contain
22             trace amounts of a substance not on the ingredients list. But this
23             argument is overbroad. The question is whether any reasonable
               consumer could believe that Banana Boat sunscreens contain
24             benzene when it is not on the ingredients list. Assuming the truth
25             of the plaintiffs’ claim that exposure to even low levels of benzene
               carries serious health risks, it is plausible that most consumers
26             would not expect their sunscreen to contain such an ingredient
27             without a warning label.

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1    Clinger v. Edgewell Pers. Care Brands, LLC, 2023 WL 2477499, at *16 (D. Conn.
2    Mar. 13, 2023) (internal footnote omitted). Plaintiffs allege that “[c]onsumers lack
3    the scientific knowledge necessary to determine whether Defendant’s Products do in
4    fact contain Heavy Metals,” and that they must reasonably rely on Defendant to test,
5    confirm, and disclose their products’ contents. CAC at ¶ 6.
6          Finally, Defendant claims that “no rule, regulation, or guideline requires
7    warning labels for products that contain or may contain trace heavy metals.” (Dkt.
8    34-1 at 19:13–14.) Defendant also claims that there is no violation under Proposition
9    65 or the Consent Judgment. Id. at 12. Defendant’s arguments on these points miss
10   the mark. The main issue of liability turns on whether reasonable consumers were
11   misled based on information omitted from the packaging of Defendant’s Products,
12   not whether the information, or lack thereof, on the packaging violates any rules or
13   regulations.
14         B.       Defendant Had a Duty to Disclose the Presence of Heavy Metals in
                    its Dark Chocolate Products
15
                    1.    Defendant Had a Duty to Disclose Under Non-California Law
16
           According to the Motion, “[t]here is no duty to disclose—and thus, no
17
     actionable omission—where, as here, the plaintiff fails to allege that the undisclosed
18
     information ‘caused an unreasonable safety hazard,’ … and also where the alleged
19
     omission does not affect the central functionality of the product.” Dkt. 34-1 at 23:6–9
20
     (internal citations omitted). This sets forth what constitutes a material fact under
21
     California law. But Plaintiffs also allege violations of the Washington, Illinois, and
22
     New York consumer protection statutes. See CAC at Counts VI-IX. Crucially, the
23
     requirements for what constitutes a “material fact” under the laws of these states are
24
     different, which Defendant’s Motion largely fails to address. See In re Natera
25
     Prenatal Testing Litig., 2023 WL 3370737, at *8 (N.D. Cal. Mar. 28, 2023)
26
27
28
                                                7
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1    (distinguishing requirements of California law from other states’ consumer
2    protection acts, including Illinois’).2
3          For instance, New York law defines “material” as simply “one that involves
4    information that is important to consumers and, hence, likely to affect their choice
5    of, or conduct regarding, a product.” Colpitts v. Blue Diamond Growers, 527 F.
6    Supp. 3d 562, 583 (S.D.N.Y. 2021) (quoting In re Sling Media Slingbox Advert.
7    Litig., 202 F. Supp. 3d 352, 360 (S.D.N.Y. 2016)). In Washington, “the WCPA
8    [Washington Consumer Protection Act] demands a ‘broad duty of disclosure’ and
9    recognizes a general duty to disclose when facts are known by the seller and not
10   easily discoverable by the consumer[.]” Rieger v. Volkswagen Grp. of Am., Inc.,
11   2023 WL 3271116, at *21 (D.N.J. May 4, 2023) (quoting In re Carrier IQ, Inc., 78
12   F. Supp. 3d 1051, 1124 (N.D. Cal. 2015)).
13         As the CAC alleges, whether a dark chocolate product—a product understood
14   by consumers to be associated with “health benefits” (CAC at ¶¶ 127–28)—contains
15   Heavy Metals is important to reasonable consumers due to the serious health issues
16   associated with Heavy Metals. See, e.g., CAC at ¶¶ 74, 89–123, 127–28, 138. And,
17   the presence of Heavy Metals was not reasonably discoverable by Plaintiffs, as
18   argued below. See Argument § I.D, infra. Such allegations are sufficient to give rise
19   to a duty to disclose under New York and Washington law. See Browning v.
20   Unilever United States, Inc., 2017 WL 7660643, at *2 (C.D. Cal. Apr. 26, 2017)
21   (sustaining New York General Business Law (“GBL”) claims where “[p]laintiffs
22   allege that they relied on the omission that the Product isn’t fit to be used as a facial
23   scrub when they purchased it and that they wouldn’t have purchased it if they had
24
25   2
       To the extent Defendant has failed to address the laws of these states in its Motion,
26   it has waived those arguments on reply. See, e.g., Turtle Island Restoration Network
27   v. U.S. Dep’t of Commerce, 672 F.3d 1160, 1166, n.8 (9th Cir. 2012) (“[A]rguments
     raised for the first time in a reply brief are waived.”) (quoting Graves v. Arpaio, 623
28   F.3d 1043, 1048 (9th Cir. 2010) (per curiam)).
                                                8
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1    been aware of that omission”); Guido v. L’Oreal, USA, Inc., 2013 WL 454861, at *8
2    (C.D. Cal. Feb. 6, 2013) (court found plaintiffs successfully pled claims under New
3    York and California state consumer protection statutes when they “allege[d] that
4    defendants failed to disclose the fact that the Serum was flammable, and this
5    omission was material because, as explained above, if a reasonable consumer using
6    the Serum knows it is flammable, she will be (sic) ‘behave differently’ if she has
7    reason to believe that she might encounter a source of ignition.”); Rieger, 2023 WL
8    3271116, at *21 (finding duty to disclose under WCPA where plaintiffs alleged that
9    defendant “violated the WCPA by failing to disclose and actively concealing the
10   piston defect, marketing class vehicles as safe and high quality, and representing
11   itself as a reputable manufacturer[.]”).
12         Trader Joe’s contests its duty to disclose under Illinois law, arguing “[t]he
13   standard under Illinois law” to state a claim for omission “is even higher” and, under
14   Illinois law, “a plaintiff must allege ‘direct statements that contain material
15   omissions,’ rather than mere ‘opportunities or locations where [defendant] could
16   have disclosed the alleged defect.’” Dkt. 34-1 at 13 n.7 (citing Guajardo v. Skechers
17   USA, Inc., 2021 WL 4302532, at *3–5 (C.D. Ill. Sept. 21, 2021)). But under Illinois
18   law, “[f]or a claim based on an omission, plaintiffs are required only to allege an
19   omission of a ‘material fact’ in the course of trade or commerce.” White v.
20   DaimlerChrysler Corp., 856 N.E.2d 542, 549 (Ill. Ct. App. 2006) (quoting Pappas v.
21   Pella Corp., 844 N.E.2d 995, 1001 (Ill. Ct. App. 2006)); see also Connick v. Suzuki
22   Motor Co., 675 N.E.2d 584, 595 (Ill. 1996) (“[I]t is unnecessary to plead a common
23   law duty to disclose in order to state a valid [Illinois Consumer Fraud Act (“ICFA”)]
24   claim … based on an omission or concealment.”); In re Natera Prenatal Testing
25   Litig., 2023 WL 3370737, at *8 (holding “Plaintiffs need not plead an independent
26   duty to disclose for omission-based claims brought under the … [ICFA.]”). Indeed,
27   courts applying Illinois law have specifically found that omission of heavy metals
28   like lead from a product’s ingredient list is actionable. See Stella v. LVMH Perfumes
                                                9
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1    and Cosms. USA, Inc., 564 F. Supp. 2d 833, 836 (N.D. Ill. 2008) (plaintiff
2    successfully stated ICFA claim where lipstick manufacturer “failed to include lead in
3    its ingredient list for the lipstick”); see also Kinman v. Kroger Co., 604 F. Supp. 3d
4    720, 729 (N.D. Ill. 2022) (denying motion to dismiss complaint alleging omissions
5    under ICFA where “plaintiff has alleged she would not have purchased the sliced
6    cheese had she known it was not smoked over hardwood, so she has adequately
7    alleged that such an omission was material to her”).
8          Moreover, the CAC identifies myriad ways in which Trader Joe’s
9    communicates to consumers about the alleged safety and purity of its products, and,
10   based on those communications, reasonable consumers, by a vast majority, believed
11   the Products would not contain Heavy Metals. See CAC ¶ 138; see also id. ¶ 4
12   (“Trader Joe’s makes specific representations to consumers, including, ‘We want to
13   make absolutely clear that we would never sell any product we believe to be
14   unsafe.’”); id. ¶¶ 10–15 (detailing representations made by Defendant in stores,
15   marketing materials, and on the Trader Joe’s website).
16         Given such representations, it is reasonable that consumers would assume that
17   Heavy Metals were not present in the Products (or, at least, not in the amounts
18   found), rendering Defendant’s omission of these facts deceptive. These allegations
19   are sufficient under ICFA. See Zarinebaf v. Champion Petfoods USA Inc., 2022 WL
20   980832, at *10 (N.D. Ill. Mar. 31, 2022) (“Whether Champion improperly omitted
21   the risk of the presence of heavy metals … is a question of fact”); see also Kinman,
22   604 F. Supp. 3d at 730 (“Whether plaintiff can prove [that the label claims were
23   material to reasonable consumers] is a question for another day.”).
24               2.     Defendant Had A Duty Disclose Under California Law
25         As to California law, although Defendant acknowledges it has an obligation
26   to disclose a safety hazard, it is wrong that the “heavy metals in the products do[]
27   not create an unreasonable safety hazard.” Dkt. 34-1 at 24:9–10 (internal quotations
28   omitted).) As an initial matter, whether the Heavy Metal content in the Products was
                                               10
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1    unsafe “is a hotly contested issue of fact” and is thus “inappropriate to resolve on a
2    motion to dismiss because [it] go[es] to the merits of the plaintiffs’ claims.” Gagetta
3    v. Walmart, Inc., 2022 WL 17812924, at *5 (N.D. Cal. Dec. 19, 2022); see also
4    Barnes v. Nat. Organics, Inc., 2022 WL 4283779, at *6 (C.D. Cal. Sept. 13, 2022)
5    (rejecting defendant’s “argument that the alleged levels of Heavy Metals fall within
6    Proposition 65’s safe harbor provision” because it was “premature” and noting that
7    “[f]actual challenges are not typically adjudicated at this stage of litigation”);
8    Henning v. Luxury Brand Partners, LLC, 2023 WL 3555998, at *3 (N.D. Cal. May
9    11, 2023) (finding the “actual amount of benzene that leads to harm is a factual
10   matter that is inappropriate for resolution at this stage” and “[a]s such, plaintiff’s
11   allegations are sufficient to infer that the products contain a level of benzene and
12   that the level of benzene present is harmful.”); Clinger, 2023 WL 2477499, at *5
13   (whether “there is no safety risk posed by less than 2 ppm of benzene in sunscreen
14   products” is a “fact-based conclusion”); Castillo v. Unilever United States, Inc.,
15   2022 WL 704809, at *3 (N.D. Ill. Mar. 9, 2022) (“Pressing the contrary result,
16   Unilever insists that DMDM hydantoin is safe. Maybe so, but at the pleading stage,
17   the Court must accept Plaintiffs’ allegations that DMDM hydantoin, and thus the
18   TRESemmé products containing that ingredient, are unsafe.”). Thus, to the extent
19   Defendant’s duty to disclose rests on whether the Heavy Metal content in the
20   Products was unsafe, that issue is not ripe for determination at this stage.
21         Regardless, Plaintiffs allege arsenic, cadmium, and lead cause a variety of
22   serious health problems including “liver and kidney necrosis” (CAC ¶ 114),
23   cardiovascular disease (id. ¶¶ 107, 115, 120), diabetes (id. ¶ 107), and cancer (id.
24   ¶¶ 108, 112, 115, 122). Moreover, these “Heavy Metals bioaccumulate in the body,
25   meaning the body cannot excrete the toxins as quickly as they are absorbed and the
26   risk they pose increases over time and can remain in one’s body for years.” Id. ¶ 104.
27   Because of this, “long-term exposure to even small amounts of heavy metals can
28   lead to a variety of health problems.” Id. ¶ 103 (internal quotations omitted). In fact,
                                                11
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1    “‘[n]o amount of lead is known to be safe,’ and its harmful effects cannot be
2    reversed or remediated.” Id. ¶ 119 (quoting Lead Levels Below EPA Limits Can Still
3    Impact Your Health, NPR, (Aug. 13, 2016)); see also id. ¶ 123 (“Even very low
4    exposure levels to lead can cause lower academic achievement, attention deficits,
5    and behavior problems. No safe level of exposure has been identified.”) (quotation
6    omitted).) “Cadmium, like lead, ‘displays a troubling ability to cause harm at low
7    levels of exposure.’” Id. at ¶ 117 (internal quotations omitted); see also id. ¶ 113
8    (“[E]ven low levels of cadmium over time may build up cadmium in the kidneys and
9    cause kidney disease and bone loss.”).
10         These allegations, accepted as true, plausibly establish a safety risk such that
11   Defendant had a duty to disclose. See Bland v. Sequel Nat. Ltd., 2019 WL 4674337,
12   at *5 (N.D. Cal. Aug. 2, 2019) (denying defendant’s motion for judgment on the
13   pleadings under the Unfair Competition Law, False Advertising Law, and
14   Consumers Legal Remedies Act, and finding plaintiff “pled sufficient facts to
15   support a plausible inference that Defendant’s products pose a significant health risk
16   to consumers” where “a single serving [of the products] exceeds the reproductive
17   toxicity limit for lead set by Proposition 65, and one to three servings exceed the
18   limit for cadmium.”); Dachauer v. NBTY, Inc., 913 F.3d 844, 849 (9th Cir. 2019)
19   (finding “an increased risk of death” associated with consuming a dietary supplement
20   as recommended would be “a material fact ‘with respect to consequences which may
21   result from use of the article’” such that “the FDCA would deem it misleading not to
22   reveal that fact on the label.”) (quoting 21 C.F.R. § 1.21(a)(2)); Henning, 2023 WL
23   3555998, at *3 (“Plaintiff’s allegations are sufficient to infer that the Products
24   contain a level of benzene and that the level of benzene present is harmful.”).
25         Trader Joe’s asserts that “regulatory authorities have set non-zero thresholds
26   for lead, cadmium, and arsenic in food products, demonstrating that the mere
27   presence of these heavy metals does not render food unsafe to consume.” Dkt. 34-1
28   at 24:16–18. This argument simply disputes Plaintiffs’ allegations that there is “[n]o
                                               12
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1    safe level of exposure” to lead (CAC ¶ 123), and that “even low levels of cadmium
2    over time may build up cadmium in the kidneys and cause kidney disease and bone
3    loss” (id. ¶ 113). As noted above, these arguments raise a question of fact that cannot
4    be resolved at this stage. See Bland, 2019 WL 4674337, at *4 (“The question
5    whether Defendant’s products actually pose a risk to health is ultimately a question
6    of fact that cannot be decided at this stage.”); see also Gagetta, 2022 WL 17812924,
7    at *5; Barnes, 2022 WL 4283779, at *6.
8          As Trader Joe’s concedes (see Dkt. 34-1 at 25:17-26:13), the As You Sow
9    Consent Judgment stipulated to agreed-upon levels of lead and cadmium that were
10   linked only with reproductive harm and, potentially, some forms of cancer. Notably,
11   the only remedy for an ongoing violation of the Consent Judgment is for a neutered
12   warning that lead and cadmium “are known to the State of California to cause birth
13   defects or other reproductive harm,” and only at the manufacturer’s option would the
14   warning language even include reference to cancer (although it is unclear why a
15   manufacturer would ever voluntarily include it, rendering it illusory). (See Dkt. 34-5
16   (Req. for Judicial Notice Ex. B, Consent Judgment) at 23.) A far cry from
17   demonstrating that “Plaintiffs’ own test results show that Trader Joe’s products are
18   safe,” (Dkt. 34-1 at 26:14), neither Proposition 65 nor the Consent Judgment
19   contemplate the myriad health risks beyond birth defects that result from consuming
20   unsafe levels of lead, cadmium, and arsenic. See CAC ¶¶ 89, 101–123.
21         While Defendant claims that “trace heavy metals in the products [are] not
22   ‘related to the chocolate’s function as chocolate’” (Dkt. 34-1 at 23:13–19), it
23   conveniently ignores Plaintiffs’ allegations that the levels of Heavy Metals in the
24   Products exceed the MADL and that chocolate with appreciable amount levels of
25   Heavy Metals are not suitable for consumption (at least for the reasonable
26   consumer). Accordingly, the Products in this case no longer serve their “central
27   functionality” as food.
28
                                               13
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           C.     Economic Injury Is Easily Satisfied Here
1
           Plaintiffs easily show economic injury under the price premium theory.
2
     Contrary to Defendant’s arguments, Plaintiffs specifically allege that various dark
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     chocolate manufacturers “are able to produce dark chocolate products with levels of
4
     lead and cadmium below California’s MADL.” (CAC ¶ 124; see also id. ¶¶ 125–
5
     126; compare Dkt. 134-1 at 27:10–11.) Defendant’s authorities are distinguishable
6
     for this reason alone. See Dkt. 34-1 at 27:13-20 (citing Estrada v. Johnson &
7
     Johnson, 2015 WL 1440466 (E.D. Cal. Mar. 27, 2015); Boysen v. Walgreen Co.,
8
     2012 WL 2953069 (N.D. Cal. July 19, 2012)). Boysen and Estrada are further
9
     distinguishable because “[P]laintiffs’ claims in this matter are not solely based on the
10
     theory that defendants’ Products are unsafe due to the presence of [Heavy Metals],
11
     but also that those products omit on their labeling their presence altogether.” Zeiger,
12
     304 F. Supp. 3d at 846–47 (distinguishing Boysen); Estrada, 2015 WL 1440466, at
13
     *4 (“Plaintiff received the benefit-of-the-bargain because she received the exact
14
     product she intended to purchase, unlike the cases she cites where the consumers
15
     received products that were mislabeled or defective.”) (emphasis added). In addition,
16
     unlike here, the levels of heavy metals in the products in Boysen were “all below the
17
     FDA’s guidance levels.” 2012 WL 2953069, at *5.
18
           Regardless, allegations concerning other products are not required under
19
     governing law here. See Henning 2023 WL 3555998, at *3 (“Plaintiff plausibly
20
     alleged the risk of benzene and that she would not have purchased the Products had
21
     she known about the risk. This is sufficient to plead standing based on economic
22
     injury.”); Gagetta, 2022 WL 17812924, at * 4 (“[T]he plaintiffs’ allegations that the
23
     risk existed and that they would not have purchased the products had they known the
24
     risk are plausible. The plaintiffs successfully pleaded economic injury for
25
     standing.”). Plaintiffs allege they bargained for “high quality dark chocolate
26
     products” but instead received Products contaminated with—or at risk of being
27
     contaminated with—dangerous levels of Heavy Metals. (CAC ¶¶ 27–65, 130, 138.);
28
                                               14
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1    see also Loeb v. Champion Petfoods USA Inc., 2018 WL 2745254, at *5 (E.D. Wis.
2    June 7, 2018) (standing alleged where “Plaintiff complains about paying too much
3    for what she maintains was a low-quality product.”). And here, Plaintiffs reasonably
4    believed, based on Defendant’s omissions, that they would not be receiving Products
5    contaminated with Heavy Metals (or the risk thereof). It is common sense that a dark
6    chocolate bar contaminated with dangerous levels of Heavy Metals (or the risk
7    thereof) is worth less than one without Heavy Metals. See Clinger, 2023 WL
8    2477499, at *15 (“The plaintiffs’ claim is that the presence of benzene in sunscreen
9    undermines its protective function by exposing them to carcinogenic benzene. In
10   other words, the sunscreen was defective in some way and therefore worth less than
11   the price the plaintiffs paid for it.”); Raymo v. FCA US LLC, 475 F. Supp. 3d 680,
12   692 (E.D. Mich. 2020) (“Because defective trucks are just not worth as much as
13   defect-free trucks, Plaintiffs have adequately alleged an economic injury sufficient to
14   establish standing under Article III[.]”). Accordingly, Plaintiffs sufficiently allege
15   economic injury because they received Products worth less than what they bargained
16   for and would not have purchased the Products had Defendant properly disclosed the
17   presence of Heavy Metals (or risk thereof).
18         Defendant’s arguments as to whether Plaintiffs should recover a full refund or
19   partial refund based on a price premium theory “addresses a question of damages,
20   not one of standing” and are, therefore, premature. Schneider v. Chipotle Mexican
21   Grill, Inc., 328 F.R.D. 520, 530–31 (N.D. Cal. 2018); compare with Dkt. 34-1 at 27–
22   28:19. Here, Plaintiffs establish “economic injury by asserting that they would not
23   have purchased Defendant’s Products or would have paid less for them had they
24   known the truth about the Products.”3 Hamman v. Cava Grp., Inc., 2023 WL
25
     3
       In re Fruit Juice Prods. Mktg. and Sales Pracs. Litig., 831 F. Supp. 2d 507, 513 (D.
26
     Mass. 2011), is inapposite because the plaintiffs there “failed to allege that the fruit
27   juice products had any diminished value because of the presence of lead or that they
     would have purchased different or cheaper fruit juice products had they known about
28
     the lead.” Regardless, Defendant cites In re Fruit Juice for the proposition that
                                               15
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1    3450654, at *5 (S.D. Cal. Feb. 8, 2023); see also, e.g., CAC ¶ 29; Axon v. Fla.’s Nat.
2    Growers, Inc., 813 F. App’x 701, 703-04 (2d Cir. 2020) (summary order) (finding
3    standing where the plaintiff “suffered an injury-in-fact because she purchased
4    products bearing allegedly misleading labels and sustained financial injury—paying
5    a premium—as a result”); In re Aqua Data Prods. Liab. Litig., 654 F.3d 748, 751
6    (7th Cir. 2011) (“The plaintiffs’ loss is financial: they paid more for the toys than
7    they would have, had they known of the risks the beads posed to children. A
8    financial injury creates standing.”).
9          Finally, Plaintiffs allege a cognizable benefit of the bargain theory. Unlike
10   McGee v. S-L Snacks Nat’l, 982 F.3d 700, 705-6 (9th Cir. 2020), where the presence
11   of trans fat was disclosed, Plaintiffs’ case centers on Defendant’s failure to disclose
12   any presence of Heavy Metals. See, e.g., CAC ¶¶ 82–88. Furthermore, Defendant
13   makes affirmative representations that safety is important and that it would “never
14   sell any product [it] believe[s] to be unsafe.” Id. at ¶ 13.
15         D.     Plaintiffs Plausibly Allege They Did Not Know The Dark Chocolate
                  Products Contained or Risked Containing Heavy Metals
16
           According to Trader Joe’s, it had no obligation to warn consumers about the
17
     presence of Heavy Metals in the Products because of a 2015 lawsuit and resulting
18
     2018 Consent Judgment. See Dkt. 34-1 at 29:8–10 (“Plaintiffs cannot allege that
19
     Trader Joe’s had exclusive knowledge of the possible presence of heavy metals in
20
     dark chocolate or that this information was not reasonably available to the public.”).
21
22
     Plaintiffs received the benefit of their bargain because they do not allege any
23
     physical injuries. Id. at 512 (“The fact is that Plaintiffs paid for fruit juice, and they
24   received fruit juice, which they consumed without suffering harm.”); (see also Dkt.
     34-1 at 28:3–5.) The First Circuit has since overruled this proposition of law. In re
25
     Evenflo Co., Inc., Mktg., Sales Pracs. and Prods. Liab. Litig., 54 F.4th 28, 35 (1st
26   Cir. 2022) (“We first address Evenflo’s more sweeping argument: that ‘where a
27   plaintiff is not actually injured by an allegedly unsafe product, she does not have
     standing to pursue a claim for damages.’ We disagree. This court has repeatedly
28   recognized overpayment as a cognizable form of Article III injury.”).
                                                 16
     PLAINTIFFS’ OPPOSITION TO MTD                            CASE NO. 3:23-CV-00061-RBM-KSC
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1    In other words, because there was litigation against Trader Joe’s relating to the same
2    or similar issues, Defendant’s position is that this information was readily available
3    to the public. Id. Defendant is wrong.4
4          An omission is “actionable where it is shown that ‘a consumer could not
5    reasonably obtain’ the omitted information.” Kyszenia v. Ricoh USA, Inc., 583 F.
6    Supp. 3d 350, 360 (E.D.N.Y. 2022) (finding that complaints “on a handful of
7    websites” were insufficient to show “that consumers were entirely capable of
8    discovering the information on their own.”). Here, the allegations in the CAC are
9    sufficient to establish that the information was not readily accessible to the Plaintiffs.
10   See CAC at ¶ 17 (“It was only through testing conducted by Consumer Reports that
11   the general public became aware of the Heavy Metal content in Defendant’s
12   Products.”). It is unreasonable to expect consumers to cross-reference the litigation
13   history for every product they purchase to see if the manufacturer has been accused
14   of producing an unsafe product in the past. See, e.g., DeCoursey v. Murad, LLC,
15   2023 WL 3478459, at *15-16 (N.D.N.Y. May 16, 2023) (denying defendant’s
16   motion to dismiss the GBL § 349 claim to the extent it is based on a failure to warn
17   or omission finding it is a question of fact whether a reasonable consumer could be
18   expected to cross-reference a product’s ingredient list with relevant FDA regulations,
19   despite the regulations being publicly available).
20         The cases Defendant cites do not support the idea that Plaintiffs could
21   reasonably obtain information regarding the presence (or risk) of Heavy Metals in
22   the Products. See Steele v. Extendicare Health Servs. Inc., 607 F. Supp. 2d 1226,
23   1234 (W.D. Wash. 2009) (information at issue was considered a “publicly available
24   resource of a United States government website”); Womack v. EVOL Nutrition
25   Assocs., 2021 WL 5906340, *10 (N.D.N.Y. Dec. 14, 2021) (finding the complaint
26
27   4
       Defendant only makes this argument as to Plaintiffs’ New York and Washington
28   claims. (See Dkt. 34-1 at 28:16.)
                                                17
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1    failed to allege the defendant itself possessed knowledge the product at issue was
2    causing health problems to consumers or an ingredient in the product was dangerous
3    and addictive in nature). Defendant’s reliance on Paradowski v. Champion Petfoods
4    USA, Inc., 2023 WL 3829559, at *3 (2d Cir. June 6, 2023), is similarly misplaced
5    because that case was decided at the summary judgment stage based on a factual
6    record. Id., at *3 (“[T]he factual record establishes that a reasonable consumer could
7    have discovered that Champion’s pet foods had a material risk of containing some
8    measurable amount of heavy metals.”). Here, the question of whether a consumer
9    could reasonably obtain information about the Products containing (or having a
10   material risk of containing) Heavy Metals is a question of fact that cannot be
11   resolved at the motion to dismiss stage. See Cooper v. Anheuser-Busch, LLC, 553 F.
12   Supp. 3d 83, 97 (S.D.N.Y. 2021) (“as in most cases, the question of whether
13   Defendant’s labeling would prove misleading to the reasonable consumer is a
14   question of fact that cannot be resolved on a motion to dismiss.”).
15         Regardless, Plaintiffs are not required to allege Defendant had exclusive
16   knowledge of the Heavy Metal contamination. Instead, superior knowledge is
17   sufficient under both New York and Washington law. See Woods v. Maytag Co., 807
18   F. Supp. 2d 112, 124 (E.D.N.Y. 2011) (duty to disclose arises “where one party
19   possesses superior knowledge, not readily available to the other, and know[s] that the
20   other is acting on the basis of mistaken knowledge”) (quoting Brass v. Am. Film
21   Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993)); Rydman v. Champion Petfoods USA,
22   Inc., 2020 WL 4347512, at *2 (W.D. Wash. July 29, 2020) (“[A] duty to disclose
23   arises ‘where one party is relying upon the superior specialized knowledge and
24   experience of the other [or] where a seller has knowledge of a material fact not easily
25   discoverable by the buyer.’”) (quoting Favors v. Matzke, 770 P.2d 686, 690 (Wash.
26   Ct. App. 1989)).
27         Trader Joe’s unquestionably had superior knowledge here because it was
28   involved in “sourcing of ingredients, manufacturing of products, and conducting of
                                               18
     PLAINTIFFS’ OPPOSITION TO MTD                         CASE NO. 3:23-CV-00061-RBM-KSC
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1    all relevant quality assurance protocols, including testing of both the ingredients and
2    finished products.” CAC ¶ 68. Moreover, Trader Joe’s was required as part of a prior
3    consent judgment to be testing its products for Heavy Metals. Id. ¶ 162. Where
4    testing would have revealed the defect, Plaintiffs’ allegations that a failure to
5    disclose that defect is sufficient. See Cuevas v. United Brands Co., Inc., 2012 WL
6    760403, at *6 (S.D. Cal. Mar. 8, 2012) (“The FAC suggests that Defendant had
7    superior knowledge regarding the risks of consuming caffeine and alcohol
8    simultaneously and therefore had a duty to disclose those material facts to
9    unsuspecting consumers.”); Almeida v. Apple, Inc., 2023 WL 3149252, at *3 (N.D.
10   Cal. Mar. 1, 2023) (superior knowledge alleged where “Apple’s pre-release testing
11   … would have revealed the alleged defect.”).
12   II.   PRIMARY JURISDICTION SHOULD NOT BE INVOKED HERE
13         Primary jurisdiction should not be invoked here based on the FDA’s “Closer
14   to Zero” Initiative (the “Initiative”). See Dkt. 34-1 at 32. Trader Joe’s largely ignores
15   that the Initiative prioritized reducing childhood exposure in baby foods, implying
16   (erroneously) that the FDA is already looking at dark chocolate. Even if the Initiative
17   considered chocolate (which it does not), there is nothing in this Initiative that
18   addresses product packaging. As the Ninth Circuit has held multiple times:
19             Not every case that implicates the expertise of federal agencies
               warrants invocation of primary jurisdiction. Rather, the doctrine is
20             reserved for a “limited set of circumstances” that “requires
21             resolution of an issue of first impression, or of a particularly
               complicated issue that Congress has committed to a regulatory
22
               agency.”
23   Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 760 (9th Cir. 2015) (quoting
24   Clark v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008)); see also Cohen
25   v. ConAgra Brands, Inc., 16 F.4th 1283, 1291 (9th Cir. 2021) (finding the primary
26   jurisdiction doctrine inapplicable in product label case); Robles v. Domino’s Pizza,
27   LLC, 913 F.3d 898, 910 (9th Cir. 2019) (in rejecting the application of primary
28   jurisdiction: “[t]he purpose of the doctrine is not to ‘secure expert advice’ from an
                                                19
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1    agency ‘every time a court is presented with an issue conceivably within the
2    agency’s ambit.’”) (quoting Brown v. MCI WorldCom Network Servs., Inc., 277 F.3d
3    1166, 1172 (9th Cir. 2002)).
4             Setting aside that the FDA is not considering chocolate, liability here does not
5    turn on food regulations, as Plaintiffs’ claims relate only to whether reasonable
6    consumers were misled based on omitted packaging information. Primary
7    jurisdiction requires consideration of: “(1) the need to resolve an issue that (2) has
8    been placed by Congress within the jurisdiction of an administrative body having
9    regulatory authority (3) pursuant to a statute that subjects an industry or activity to a
10   comprehensive regulatory authority that (4) requires expertise or uniformity in
11   administration.” Robles, 913 F.3d at 910 (quoting Davel Commc’n Inc. v. Qwest
12   Corp., 460 F.3d 1075, 1086-87 (9th Cir. 2006)). “The ‘deciding factor’ in
13   determining whether the primary jurisdiction doctrine should apply is ‘efficiency.’”
14   Reid v. Johnson & Johnson, 780 F.3d 952, 967 (9th Cir. 2015) (quoting Rhoades v.
15   Avon Prods., Inc., 504 F.3d 1151, 1165 (9th Cir. 2007)).
16            Trader Joe’s argues that the Court should “either dismiss or stay these
17   proceedings in deference to the FDA’s primary jurisdiction over food labeling and
18   safety.” Dkt. 34-1 at 29:18–20. But Trader Joe’s fails to satisfy its burden of meeting
19   the stringent factors for finding primary jurisdiction, instead relying heavily on a few
20   cases involving baby food, which, unlike dark chocolate, is the direct subject of the
21   Initiative. Dkt. 34-1 at 30:6–9. That the FDA has responsibilities relating to food
22   labeling and safety does not end the inquiry. It merely responds to one of the four
23   primary jurisdiction factors. Moreover, the Initiative sets forth neither labeling
24   requirements nor labeling prohibitions, and it does not address what constitutes
25   known safe levels of heavy metals in baby food (and does not address chocolate at
26   all).5
27   5
      Defendant’s cited out-of-jurisdiction district and state court cases are not binding
28   on this Court. See Dkt. 34-1 at 30:6–10.
                                                 20
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1          Faced with similar arguments in a case involving baby food, a judge in the
2    United States District Court for the Northern District of California rejected the
3    application of the primary jurisdiction doctrine twice. In In re Plum Baby Food
4    Litigation, 2022 WL 16640802, at *1 (N.D. Cal. Jan. 12, 2022), the court denied a
5    motion to dismiss on primary jurisdiction grounds, holding: “[t]he Court need not
6    rely on the FDA’s expertise or its potential guidance on action levels to determine
7    whether Plum’s alleged omissions are actionable given the allegations of the
8    operative complaint.” Id., at *1. Plum later sought reconsideration after some of the
9    decisions cited by Trader Joe’s were issued,6 and the court again rejected invoking
10   primary jurisdiction. See generally In re Plum Baby Food Litig., 2023 WL 3493319
11   (N.D. Cal. May 3, 2023). The court reiterated that the FDA’s draft guidance is “not
12   binding,” is “not intended to set the lowest levels for the industry to achieve,” and
13   most significantly, does not address the labeling.” Id., at *1 (emphasis added)
14   (citation omitted).
15         In In re Recalled Abbott Infant Formula Products Liability Litigation, 2023
16   WL 3585759, at *6–7 (N.D. Ill. May 22, 2023), a judge in the United States District
17   Court for the Northern District of Illinois also recently considered and rejected
18   invoking primary jurisdiction in a case alleging the lack of disclosures of heavy
19   metals in infant formula. There, the defendant also asserted that the FDA’s Closer to
20   Zero Initiative and draft guidance served as a basis for primary jurisdiction. The
21   court declined to apply primary jurisdiction noting that the “draft guidance does not
22   apply to infant formula,” “will not establish any rights for any person and is not
23
24   6
       To the extent Trader Joe’s relies on the Second Circuit’s summary order in
     Paradowski, 2023 WL 3829559, such reliance is improper. The Paradowski
25
     summary order does not have precedential effect in its own circuit, nor is it binding
26   here. See 2d Cir. R. 32.1.1(a) (“Rulings by summary order do not have precedential
27   effect.”). In addition, the statement in the opinion that Congress or the FDA, and not
     the courts, should determine what information to disclose on consumer packaging is
28   improper dicta, as primary jurisdiction was not at issue.
                                               21
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1    binding,” and “does not address product labeling.” Id., at *7 (internal quotations and
2    citations omitted); see also id. (stating “that any guidance from the FDA would be
3    neither binding nor retroactive”). The Abbott court held that (1) the requested
4    monetary damages would not be provided by the FDA; (2) the case involves state
5    laws, not federal law; and (3) there was no timeline concerning infant formula and
6    invoking primary jurisdiction would cause delay and added expense. See id., at *7-8.
7          Contrary to Defendant’s argument, this case does not involve “complicated”
8    or “multifaceted” issues requiring “scientific, technical, and policy expertise.” Dkt.
9    34-1 at 32:8. It solely concerns misleading packaging and whether reasonable
10   consumers were misled under state laws. In this Circuit, courts repeatedly find that
11   they are competent to weigh these questions, even if they arise in the context of
12   parallel or potential regulatory activity arguably within the purview of the FDA’s
13   statutory mandate. See, e.g., Reid, 780 F.3d at 967 (declining primary jurisdiction
14   where “this case ultimately turns on … whether a reasonable consumer would be
15   misled by McNeil’s marketing, which the district courts have reasonably concluded
16   they are competent to address in similar cases.”); Kosta v. Del Monte Corp., 2013
17   WL 2147413, at *10 (N.D. Cal. May 15, 2013) (“[T]he FDA’s expertise … is not
18   necessary to determine whether the labels are misleading [and t]he reasonable-
19   consumer determination and other issues involved in Plaintiff’s lawsuit are within
20   the expertise of the courts to resolve.”) (quoting Jones v. ConAgra Foods, Inc., 2012
21   WL 6569393, at *7 (N.D. Cal. Dec. 17, 2012)); Capaci v. Sports Rsch. Corp., 445 F.
22   Supp. 3d 607, 623 (C.D. Cal. 2020) (declining to invoke primary jurisdiction because
23   “plaintiffs’ claims concern defendant’s allegedly misleading labeling with promises
24   of ‘weight management’ and ‘appetite control,’ a determination this court is
25   equipped to make”); Souter v. Edgewell Pers. Care Co., 542 F. Supp. 3d. 1083,
26   1095-96 (S.D. Cal. 2021) (Whether labels are misleading is “‘not a technical area in
27   which the FDA [has] greater technical expertise than the courts.’”) (internal citation
28   omitted) (quoting Jovel v. Boiron Inc., 2013 WL 12164622, at *12 (C.D. Cal. Aug.
                                               22
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1    16, 2013)). Instead, “false advertising suits [] are squarely within the conventional
2    experiences of judges and courts.” Prescott v. Bayer Healthcare LLC, 2020 WL
3    4430958, at *4 (N.D. Cal. July 31, 2020).
4          Trader Joe’s incorrectly contends that allowing courts to act before the FDA
5    completes its work on the Action Plan will disrupt the regulatory process and destroy
6    national uniformity. Dkt. 34-1 at 31:18–32:5. Courts routinely rule on deceptive
7    packaging claims like those alleged here, even while the FDA is considering future
8    action, and these rulings do not interfere with that process. See Cortina v. Goya
9    Foods, Inc., 94 F. Supp. 3d 1174, 1191 (S.D. Cal. 2015) (“The determination of
10   labeling violations based in law is not within the discretion of the FDA, nor does the
11   resolution of such claims require FDA expertise or undercut uniformity in
12   regulation.”). Regardless, that argument is irrelevant because this case is not about
13   any potential FDA regulations on packaging that would govern the state law
14   consumer protection claims alleged here, and there is no such regulation proposed
15   about chocolate.
16         Even if the claims at issue here were implicated by actions the FDA is
17   planning or considering (which they are not), the FDA has set forth only a
18   generalized and long period of review for the baby foods. In fact, the Initiative
19   merely “projects that it will finalize that plan by 2025,”7 so the “uncertainty over
20   how and when the FDA will act counsels against an indefinite stay.” In re Plum
21   Baby Food Litig., 2022 WL 16640802, at *1 (citation omitted); see also Fisher v.
22   Monster Beverage Corp., 125 F. Supp. 3d 1007, 1031 (C.D. Cal. 2013) (primary
23   jurisdiction in food cases is highly disfavored where FDA does not appear
24   imminently about to resolve a key question to the litigation). In considering an
25
26   7
      Closer to Zero Action Plan: Impacts of Toxic Element Exposure and Nutrition at
27   Different Crucial Developmental Stages for Babies and Young Children, Public
     Meeting Docket No. FDA-2021-N-0966 (Nov. 18, 2021), https://www.fda.gov/
28   media/155396/download (last visited on July 11, 2023).
                                                 23
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1    efficient course of action, courts must appraise whether the application of the
2    primary jurisdiction doctrine would needlessly delay resolution. Reid, 780 F.3d at
3    966-67. Primary jurisdiction should not be invoked where awaiting related uncertain
4    agency action would result in undue delays. See Abrantes v. Northland Grp., Inc.,
5    2015 WL 1738255, at *2 (N.D. Cal. Apr. 13, 2015); Prescott, 2020 WL 4430958, at
6    *3; In re Juul Labs, 497 F. Supp. 3d 552, 581–82 (N.D. Cal. 2020). For instance, in
7    Henning, the court found the primary jurisdiction doctrine applied but still declined
8    to stay or dismiss the action. Henning, 2023 WL 3555998, at *9. The court found
9    that “although the FDA has expressed that it is evaluating the … Citizen Petition,
10   there is no indication that the FDA will engage in rulemaking or issue a guidance on
11   this issue in a timely manner.” Id. Accordingly, the court found “it would be
12   inappropriate to delay the resolution of Plaintiff’s claims for an indefinite period.”
13   Id. So too, here. The unspecified time frame for FDA final action (which only relates
14   to baby foods), juxtaposed with the fact that the FDA’s plan has nothing to do with
15   product labeling, militates against dismissal or staying the action.
16   III.   PLAINTIFFS SUFFICIENTLY ALLEGE BREACH OF IMPLIED
            WARRANTY
17
            Trader Joe’s argues that Plaintiffs’ claim for breach of the implied warranty of
18
     merchantability fails because they “fail to plead facts demonstrating … the products
19
     were not fit for human consumption.” Dkt. 34-1 at 32:25–33:1. Trader Joe’s is
20
     wrong.
21
            First, Plaintiffs do not have to “demonstrate” the safety risks posed by the
22
     Heavy Metal contamination in the Products at this stage of the litigation. See, e.g.,
23
     Viggiano v. Hansen Nat. Corp., 944 F. Supp. 2d 877, 883 (C.D. Cal. 2013) (“The
24
     court must accept all factual allegations pleaded in the complaint as true, and
25
     construe them and draw all reasonable inferences from them in favor of the
26
     nonmoving party.”). Plaintiffs must only plausibly allege that the Products’ safety
27
     hazards render them unfit for their ordinary use.
28
                                                24
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1          Second, Plaintiffs state a valid claim for breach of the implied warranty of
2    merchantability because they allege “the product[s] lack[] even the most basic degree
3    of fitness for ordinary use.” Pershing Pac. W., LLC v. Ferretti Grp., USA, Inc., 2013
4    WL 275676, at *7 (S.D. Cal. Jan. 24, 2013) (emphasis added) (internal quotations
5    and citations omitted). Whether a product is fit for its ordinary purpose “is shown if
6    the product is in safe condition and substantially free from defects.” Stewart v.
7    Electrolux Home Prods., Inc., 304 F. Supp. 3d 894, 912 (E.D. Cal. 2018) (cleaned
8    up). “[A] defective product that causes a safety hazard will generally render that
9    product unfit for its ordinary purpose.” Id. at 913 (internal footnote omitted).
10         Here, Plaintiffs allege the Products are not fit for ordinary use because they
11   contain levels of Heavy Metals in excess of the MADL. See CAC ¶¶ 131–133, 223.
12   The ordinary use for chocolate bars is human consumption, and Plaintiffs allege that
13   the contamination of these Products by Heavy Metals poses a safety hazard to the
14   consuming public. Id. ¶¶ 89–92, 101–123. Specifically, Plaintiffs allege:
15             Reasonable consumers expect the dark chocolate products they
16             purchase for their individual and family consumption will not be
               contaminated (or have a material risk of being contaminated) with
17             Heavy Metals, substances that are known to accumulate in the
18             body and pose significant and dangerous health consequences.

19   Id. ¶ 5. Plaintiffs further allege “[e]ven modest amounts of heavy metals can increase

20   the risk of cancer, cognitive and reproductive problems, and other adverse

21   conditions.” Id. ¶ 89. “Cadmium, like lead, ‘displays a troubling ability to cause

22   harm at low levels of exposure.’” Id. ¶ 117 (internal citations omitted). And, Trader

23   Joe’s “knew or should have known that Heavy Metals pose health risks to

24   consumers.” Id. ¶ 97. Plaintiffs very plainly allege that the Heavy Metals in the

25   Products pose a safety hazard such that the Products are unfit for their ordinary

26   purpose. In addition, Plaintiffs allege the “industry standard” is not to have excessive

27   levels of Heavy Metals in dark chocolate products, because various dark chocolate

28   manufacturers produce products that do not have such levels of Heavy Metals. Id.

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1    ¶¶ 124–126. Thus, Plaintiffs state a valid claim for breach of the implied warranty of
2    merchantability.
3          While Trader Joe’s cites to Viggiano, it is distinguishable. In Viggiano, the
4    plaintiff claimed that the defendant breached the implied warranty of merchantability
5    because its beverage products labeled as containing “all natural flavors” contained
6    two synthetic ingredients. Viggiano, 944 F. Supp. 2d at 881–82. However, the
7    plaintiff did not allege that defendant’s drinks lacked fitness for their ordinary use.
8    Id. at 896. The plaintiff did not “allege[] that the beverage was not drinkable, that it
9    was contaminated or contained foreign objects, etc.” Id. (emphasis added).
10   Contamination by Heavy Metals is exactly what is alleged, here, and Plaintiffs have
11   alleged that the contamination renders the Products unsafe and unfit for their
12   ordinary use.
13         Trader Joe’s also cites to Ferry v. Mead Johnson & Co., LLC, 514 F. Supp. 3d
14   418, 452 (D. Conn. 2021), to argue Plaintiffs’ claim fails to allege the Products are a
15   “market outlier.” Dkt. 34-1 at 33:24. Ferry recites and concerns Connecticut law on
16   the warranty of merchantability and does not hold that a plaintiff must allege that the
17   subject product is a “market outlier” to state a claim for breach of the implied
18   warranty of merchantability. Rather, Ferry notes that a product “will normally be
19   merchantable” if it “conforms to the quality of other brands on the market” while
20   listing a number of reasons the plaintiff’s claim failed. Id. at 452 (internal citations
21   omitted). Regardless, the Consumer Reports article referenced extensively in the
22   CAC and which Trader Joe’s seeks to have incorporated by reference into the CAC,
23   (see Dkt. 34-13 (Request for Judicial Notice, Ex. J)), provides “Safer Choices” of
24   chocolates on the market that do not contain the high levels of Heavy Metals found
25   in the Products, supporting the inference that the Products are a “market outlier” due
26   to their Heavy Metal contaminants. See also CAC ¶¶ 124–126 (noting that dark
27   chocolate does not need to be produced with dangerous levels of Heavy Metals).
28
                                               26
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1          Finally, Trader Joe’s contends “the implied-warranty … claim[] also should be
2    dismissed for the simple, independent reason that Plaintiffs fail to allege which state
3    law governs [the] … claim.” Dkt. 34-1 at 35:12–14 (internal quotations omitted).
4    Count IV for breach of implied warranty is brought on behalf of the Class and, in the
5    alternative, the State Subclasses. The CAC makes clear that California law would
6    apply to the Class, which would include Count IV. See CAC ¶¶ 156–157.               In
7    addition, Plaintiffs allege that Trader Joe’s is located in California, conducts its
8    business in California, contracts to supply goods in California, and the acts giving
9    rise to this action occurred in California. Id. ¶¶ 25–26. See Mazza v. Am. Honda
10   Motor Co., Inc., 666 F.3d 581, 590 (9th Cir. 2012) (“California has a constitutionally
11   sufficient aggregation of contacts to the claims of each putative class member in this
12   case because Honda’s corporate headquarters, the advertising agency that produced
13   the allegedly fraudulent misrepresentations, and one fifth of the proposed class
14   members are located in California.”).
15         While Plaintiffs submit that this choice-of-law analysis is premature before the
16   class certification stage, should the Court find that a more direct statement that
17   California law applies to these claims and should be included in the CAC, such a
18   change is easily cured by amendment. See e.g., Romero v. Flowers Bakeries, LLC,
19   2016 WL 469370, at *12 (N.D. Cal. Feb. 8, 2016) (granting leave to amend when
20   dismissing common law claims for failure to state choice of law).
21   IV.   UNJUST ENRICHMENT IS PROPERLY PLED
22         Defendant attacks the legal sufficiency of Plaintiffs’ unjust enrichment claim
23   but all of Defendant’s arguments fail for similar reasons as those stated above.
24         First, as with the implied warranty claim, Trader Joe’s argues Plaintiffs’
25   unjust enrichment claim fails because Plaintiffs did not identify which state’s law the
26   Court should apply. Dkt. 34-1 at 35:12–14. This argument should be rejected for the
27   same reasons set forth above. See Argument § III, supra.
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                                               27
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1          Second, Defendant contends Plaintiffs’ unjust enrichment claim must fail
2    because it is duplicative of their other claims. Dkt. 34-1 at 34:9–16. Notwithstanding
3    that Plaintiffs’ other claims are sufficiently alleged, “[u]nder California law, a cause
4    of action for unjust enrichment may be pled as an independent claim—no underlying
5    contract claim is required.” Soo v. Lorex Corp., 2020 WL 5408117, at *8 (N.D. Cal.
6    Sept. 9, 2020); see also Gasser v. Kiss My Face, LLC, 2017 WL 4773426, at *9
7    (N.D. Cal. Oct. 23, 2017) (“The Ninth Circuit recently held in an unpublished but
8    citable decision that under California law unjust enrichment may be pled as an
9    ‘independent claim’[.]”) (quoting Bruton v. Gerber Prods. Co., 703 F. App’x 468,
10   470 (9th Cir. 2017)). “Ninth Circuit law establishes that the duplicative nature of an
11   unjust enrichment/quasi-contract claim is not a valid reason to dismiss it.” In re
12   Natera Prenatal Testing Litig., 2023 WL 3370737, at *10, n.12 (quoting Samet v.
13   Procter & Gamble Co., 2015 WL 5012828, at *1 (N.D. Cal. Aug. 24, 2015)).
14         Finally, Defendant argues “state-by-state variance in unjust-enrichment law
15   precludes Plaintiffs from bringing a certifiable nationwide unjust-enrichment claim.”
16   Dkt. 34-1 at 34:17–18. That argument is premature, as addressed below. See
17   Argument § V, infra.
18   V.    PLAINTIFFS HAVE STANDING TO BRING NATIONWIDE CLASS
           CLAIMS
19
           Defendant argues Plaintiffs lack standing to bring nationwide claims under
20
     any state’s laws except their own. See Dkt. 34-1 at 35:27–28. Defendant’s argument
21
     is contrary to Melendres v. Arpaio, 784 F. 3d 1254 (9th Cir. 2015), in which the
22
     Ninth Circuit explained that there are two rubrics for determining whether a plaintiff
23
     may pursue claims on behalf of unnamed class members: the “standing approach”
24
     and the “class certification approach.”
25
              The “standing approach” treats dissimilarities between the claims
26            of named and unnamed plaintiffs as affecting the “standing” of the
27            named plaintiff to represent the class. In other words, if there is a
              disjuncture between the injuries suffered by named and unnamed
28            plaintiffs, courts applying the standing approach would say the
                                               28
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1              disjuncture deprived the named plaintiff of standing to obtain relief
               for the unnamed class members … The “class certification
2              approach,” on the other hand, “holds that once the named plaintiff
3              demonstrates her individual standing to bring a claim, the standing
               inquiry is concluded, and the court proceeds to consider whether
4              the Rule 23(a) prerequisites for class certification have been met.”
5
     Melendres, 784 F. 3d at 1261–62 (internal citations omitted). The Ninth Circuit
6
     “adopt[ed] the class certification approach and warned against “conflat[ing] standing
7
     and class certification.” Id. at 1261-62. As a result, “[r]epresentative parties who
8
     have a direct and substantial interest have standing,” and “the question whether they
9
     may be allowed to present claims on behalf of others who have similar, but not
10
     identical, interests depends not on standing, but on an assessment of typicality and
11
     adequacy of representation.” Id. at 1262. Further, “[a]lthough Melendres ‘involved a
12
     dissimilarity in injuries suffered,’ while this case involves named plaintiffs bringing
13
     legal claims pursuant to state laws for states they do not reside in, ‘the distinction is
14
     not material for purposes of taking the class certification approach.’” Ablaza v.
15
     Sanofi-Aventis U.S. LLC, 2022 WL 19517298, at *2 (N.D. Cal. July 12, 2022) (citing
16
     Melendres, 784 F.3d at 1261–62).
17
           Following Melendres, California courts have consistently rejected arguments
18
     to dismiss nationwide class allegations at the pleading stage based on standing
19
     arguments. See, e.g., In re Natera Prenatal Testing Litig., 2023 WL 3370737, at *11
20
     (“The Court will not dismiss the complaint for failure to establish nationwide class
21
     standing.”); Hrapoff v. Hisamitsu Am., Inc., 2022 WL 2168076, at *2 (N.D. Cal.
22
     June 16, 2022) (same); Ashton v. J.M. Smucker Co., 2020 WL 8575140, at *7-8
23
     (C.D. Cal. Dec. 16, 2020) (same); Staley v. Gilead Sciences, Inc., 446 F. Supp. 3d
24
     578, 621 (N.D. Cal. 2020) (same); Kutza v. Williams-Sonoma, Inc., 2018 WL
25
     5886611, at *2–3 (N.D. Cal. Nov. 9, 2018) (same); Pecanha v. Hain Celestial Grp.,
26
     2018 WL 534299, at *8-9 (N.D. Cal. Jan. 24, 2018) (same); In re Hydroxycut Mktg.
27
     and Sales Pracs. Litig., 801 F. Supp. 2d 993, 1005 (S.D. Cal. 2011) (“‘The relevant
28
                                                29
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1    question … is not whether the Named Plaintiffs have standing to sue Defendants-
2    they most certainly do-but whether their injuries are sufficiently similar to those of
3    the purported Class to justify the prosecution of a nationwide class action. This
4    question is … appropriately answered through the class certification process.”)
5    (internal citations omitted).
6          In short, there is no question that Plaintiffs have standing to bring claims
7    against Defendant under the laws of their home states. Class certification will
8    address whether Plaintiffs’ injuries are sufficiently similar to the injuries of others to
9    justify a nationwide class.8
10   VI.   PLAINTIFFS HAVE STANDING TO PURSUE INJUNCTIVE RELIEF
11         Defendant next argues that Plaintiffs lack Article III standing to pursue
12   injunctive relief. Dkt. 34-1 at 37–38. However, Plaintiffs’ allegations concerning
13   their desire to purchase an uncontaminated version of the Product in the future
14   confers standing based on Ninth Circuit precedent.
15         In Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969 (9th Cir. 2018), the
16   Ninth Circuit addressed an ongoing split amongst district courts concerning whether
17   a previously deceived consumer can demonstrate standing sufficient to obtain
18   injunctive relief. Ultimately, the Court “resolve[d] this district court split in favor of
19   plaintiffs seeking injunctive relief.” Id. In so doing, the Court noted that for a prior
20   purchaser of a product, “the threat of future harm may be the consumer’s plausible
21   allegations that she might purchase the product in the future, despite the fact it was
22   once marred by false advertising or labeling, as she may reasonably, but incorrectly,
23   assume the product was improved.” Id. at 970.
24         Here, Plaintiffs allege that (a) they have a “desire to purchase the Products in
25   the future if they can be assured that the Products are safe for consumption and do
26   not contain Heavy Metals” and (b) they “would be willing to purchase Trader Joe’s
27   8
       Nationwide class discovery will not be overly burdensome because much of the
28   discovery on Plaintiffs’ end will focus on Defendant’s manufacturing processes.
                                                30
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1    dark chocolate products in the future if [they] could be certain that they do not
2    contain (or have a material risk of containing) Heavy Metals.” See CAC ¶¶ 29, 32,
3    35, 38, 41, 44, 47, 50, 53, 59, 62, 193. These statements demonstrate an intention to
4    purchase the Products in the future sufficient to confer standing to seek injunctive
5    relief. See, e.g., In re Plum Baby Food Litig., 2022 WL 16640802, at *1 (sustaining
6    claims for injunctive relief where “all of the plaintiffs … allege that they would ‘be
7    willing to purchase Plum Organic products in the future if [plaintiffs] could be
8    certain that they do not contain (o[r] have a material risk of containing) Heavy
9    Metals or perchlorate.’”) (citation omitted); Forrett v. Gourmet Nut Inc., 2023 WL
10   3749556, at *9 (N.D. Cal. June 1, 2023) (“Forrett would like to buy the Product
11   again if it includes the omitted [information]. This allegation is sufficient to allege
12   standing under Davidson. Plaintiff therefore has standing to seek injunctive relief.”);
13   Mueller v. Puritan’s Pride, Inc., 2021 WL 5494254, at *8 (N.D. Cal. Nov. 23, 2021)
14   (standing for injunctive relief established where plaintiffs stated that “they would
15   consider purchasing defendants’ products in the future if they could be sure that the
16   pricing and sale offers were not deceptive.”); Takahashi-Mendoza v. Coop. Regions
17   of Organic Producer Pools, 2023 WL 3856722, at *3 (N.D. Cal. May 19, 2023)
18   (standing for injunctive relief established where plaintiff alleged that “she ‘would
19   consider purchasing Defendant’s milk again if Defendant were to treat cows in a
20   manner consistent with its advertising.’”) (internal citations omitted).
21         In addition, Defendant claims injunctive relief is unavailable because Plaintiffs
22   “do not and cannot allege that trace heavy metals—and certainly not the risk of their
23   presence—can be eliminated completely from dark chocolate products.” Dkt. 34-1 at
24   38:15–16 (emphasis removed). In addition to being an improper factual argument not
25   amenable to resolution at the pleading stage, it is also false. The CAC specifically
26   identifies steps which can be taken to remove and/or omit heavy metals from
27   chocolate. This includes “changes in harvesting and manufacturing processes”;
28   “methods to remove metal contaminants when beans are cleaned at factories”; and
                                                31
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1    “breeding or genetically engineering plants to absorb less of the heavy metal.” (CAC
2    ¶¶ 78–79. Though not exhaustive, the identification of these potential solutions
3    demonstrates that injunctive relief will ameliorate the wrongs which serve as the
4    basis for Plaintiffs’ suit.
5    VII. PLAINTIFFS HAVE STANDING TO PURSUE CLAIMS INVOLVING
          DEFENDANT’S SIMILAR DARK CHOCOLATE PRODUCTS
6
            As Defendant concedes, California courts “allow claims about unpurchased
7
     products if plaintiffs can demonstrate that those products are substantially similar to
8
     purchased products.” Dkt. 34-1 at 39:1–2 (citing Wilson v. Frito-Lay N. Am., Inc.,
9
     961 F. Supp. 2d 1134, 1140 (N.D. Cal. 2013)). In order to determine what constitutes
10
     “similar products,” courts have considered factors such as “whether the products are
11
     of the same kind, whether they are comprised of largely the same ingredients, and
12
     whether each of the challenged products bears the same alleged mislabeling.” Parker
13
     v. J.M. Smucker Co., 2013 WL 4516156, at *3 (N.D. Cal. July 20, 2012). Put
14
     differently:
15
               “[s]ubstantial similarity” has been found when the products sued
16             over are physically similar … where differences between the
17             purchased products and the unpurchased products do not matter
               because the legal claim and injury to the consumer is the same, …
18             and where both the legal claims/injury are similar and the products
19             themselves are similar.
20   Ang v. Bimbo Bakeries USA, Inc., 2014 WL 1024182, at *5 (N.D. Cal. Mar. 13,

21   2014) (internal citations omitted).

22          Here, Defendant argues that Plaintiffs’ claims regarding the Trader Joe’s

23   Swiss 72% Cacao Dark Chocolate Bar (“Swiss Bar”) are not substantially similar

24   without further explanation. Dkt. 34-1 at 39. Plaintiffs, however, allege that each of

25   the Products are dark chocolate bars marketed by Trader Joe’s, which contain the

26   same material omission regarding the presence of Heavy Metals. CAC ¶¶ 17, 67–70,

27   132–34. In addition, consumer expectations regarding the presence of heavy metals

28   in chocolate bars will likely not differ based solely on the name of the product or its

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1    country of origin. Id. at ¶¶ 135–38. While Defendant claims that the “supplier” or
2    “origin, growing practices, and manufacturing practice” will alter the Court’s
3    analysis, Defendant does not explain why. Dkt. 34-1 at 39:13–18. This case does not
4    turn on the identity of the supplier or any manufacturing processes, but whether there
5    are Heavy Metals in the Products and whether failing to disclose their presence (or
6    risk) is misleading to a reasonable consumer. There are simply no material
7    differences between the Swiss Bar and the other Products. Indeed, similar arguments
8    by Defendant have already been discredited in this Circuit. See Gitson v. Trader
9    Joe’s Co., 2014 WL 1048640, at *9–11 (N.D. Cal. Mar. 14, 2014) (holding that
10   differences in yogurt, which included the style and origin (e.g., Greek vs. French
11   yogurt), was not material when the claims were based on misrepresenting sugar as
12   evaporated cane juice).
13         Defendant’s citation to Krause-Pettai v. Unilever United States, Inc., 2021
14   WL 1597931 (S.D. Cal. Apr. 23, 2021), is misplaced. In that case, the plaintiffs
15   alleged that due to slack fill and the size of the defendant’s packaging, “it appeared
16   [consumers] were ‘getting more product for a similar price as compared to other
17   brands of stick deodorant which were in smaller packages.’” Id., at *1 (citation
18   omitted). The plaintiffs’ claims would, therefore, turn on the exact design of the
19   packaging of each of the stick deodorants when compared to its competitors. Thus, it
20   is unsurprising the court held that the plaintiffs, who were asserting claims on behalf
21   of purchasers of a “variety of products” from different deodorant brands, did not
22   meet their burden in explaining why these products were similar. Id. at *7. This case
23   does not turn on the outward appearance of the different products, but the lack of
24   disclosure of the Heavy Metals contained therein.
25         Alternatively, courts often defer resolution of these questions to the class
26   certification stage of the case. See, e.g., Forcellati v. Hyland’s Inc., 876 F. Supp. 2d
27   1155, 1161 (C.D. Cal. 2012) (rejecting defendant’s standing challenge because the
28   “argument is better taken under the lens of the typicality or adequacy” prong of Rule
                                               33
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1    23); Gitson, 2014 WL 1048640 at *9; In re Natera Prenatal Testing Litig., 2023 WL
2    3370737, at *11.
3                                      CONCLUSION
4          For the foregoing reasons, Defendant’s Motion should be denied in its
5    entirety. If the Court determines that the pleadings are deficient in any respect,
6    Plaintiffs respectfully request leave to amend to cure any such deficiencies. See e.g.,
7    Roney v. Miller, 705 F. App’x 670, 671 (9th Cir. 2017) (holding lower court erred in
8    denying leave to amend after dismissing first amended complaint).
9    Dated: July 12, 2023                   Respectfully Submitted,
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